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No, 209-1557

Atlas Data Privacy Corp., et al vs, The People Searchers, LLC, et al

ENTRY OF APPEARANCE

Please list the names of all parties represented, using additional sheet(s) if necessary:

The People Searchers, LLC

Indicate the party’s role IN THIS COURT (check only one):

Petitioner(s) v Appellant(s) Intervenor(s)

Respondent(s) Appellee(s) Amicus Curiae

(Type or Print) Counsel’s Name Robert T. Szyba

[vw] Mr. | | Ms. |_| Mrs. |_| Miss [| Mx.

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Additional E-Mail Address (1)
Additional E-Mail Address (2)
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SIGNATURE OF COUNSEL: /S/ Robert T. Szyba

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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney

Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REY. 10/20/2020
